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AO 245D-CAED (Rev. 02/2018) Sheet 1 - Judgment in a Criminal Case for Revocation



                              UNITED STATES DISTRICT COURT
                                                Eastern District of California
               UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
                          v.
              BRANDON MICHAEL THOMAS                                          Criminal Number: 1:14CR00228-001
                                                                              Defendant's Attorney: Roger Wilson, Retained
THE DEFENDANT:
       admitted guilt to violation of charge(s) 1 through 8 as alleged in the violation petition filed on             3/14/2018 .
       was found in violation of condition(s) of supervision as to charge(s)            after denial of guilt, as alleged in the violation petition
       filed on   .

The defendant is adjudicated guilty of these violations:
Violation Number                  Nature of Violation                                                            Date Violation Ended
Charge 1                               NEW LAW VIOLATION
Charge 2                               NEW LAW VIOLATION
                                       UNAUTHORIZED POSSESSION OF A CONTROLLED
Charge 3                                                                                                         February 8, 2018
                                       SUBSTANCE
Charge 4                               UNAUTHORIZED USE OF A CONTROLLED SUBSTANCE                                February 5, 2018
Charge 5                               ASSOCATION WITH A PROHIBITED PERSON(S)
Charge 6                               UNAUTHORIZED USE OF ALCOHOL                                               February 4, 2018
                                       FAILURE TO ANSWER TRUTHFULLY THE QUESTIONS
Charge 7                                                                                                         February 5, 2018
                                       ASKED BY THE PROBATION OFFICER
                                       FAILURE TO FOLLOW INSTRUCTIONS OF THE
Charge 8                                                                                                         February 5, 2018
                                       PROBATION OFFICER

The court:         revokes:       modifies:        continues under same conditions of supervision heretofore ordered on 2/6/2017 .

       The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

       Charge(s)       is/are dismissed. APPEAL RIGHTS GIVEN.

        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        It is ordered that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                             8/30/2018
                                                                             Date of Imposition of Sentence
                                                                             /s/ Lawrence J. O'Neill
                                                                             Signature of Judicial Officer
                                                                             Lawrence J. O'Neill, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             9/10/2018
                                                                             Date
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AO 245B-CAED (Rev. 02/2018) Sheet 2 - Imprisonment
DEFENDANT: BRANDON MICHAEL THOMAS                                                                                         Page 2 of 5
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                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
60 Months.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                        to
at                                                   , with a certified copy of this judgment.



                                                                        United States Marshal


                                                                        By Deputy United States Marshal
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AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: BRANDON MICHAEL THOMAS                                                                                              Page 3 of 5
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
36 Months.

                                                    MANDATORY CONDITIONS
You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two (2) periodic drug tests thereafter, not to exceed four (4) drug tests per month.


      The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
      abuse.

      You must cooperate in the collection of DNA as directed by the probation officer.

      You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
      reside, work, are a student, or were convicted of a qualifying offense.

      You must participate in an approved program for domestic violence.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: BRANDON MICHAEL THOMAS                                                                                              Page 4 of 5
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                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
         different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about
         how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the Court or the probation officer.
4.       You must answer truthfully the questions asked by the probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
         living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
         change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
         probation officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
         you from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation
         officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
         or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
         probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
         been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
         permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as
         nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the Court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
         may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
         contact the person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.
                                                     U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _____________________________ Date _________________
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AO 245B-CAED (Rev. 02/2018) Sheet 3 - Supervised Release
DEFENDANT: BRANDON MICHAEL THOMAS                                                                                                  Page 5 of 5
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                                          SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall provide the probation officer with access to any requested financial information.
2.       As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment program to obtain
         assistance for drug or alcohol abuse.
3.       As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch,
         etc.) to determine if he has reverted to the use of drugs or alcohol.
4.       The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places where alcohol is the chief
         item of sale.
5.       As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
         make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.
6.       The defendant shall submit to the search of his person, property, house, residence, vehicle, papers, computer, other electronic
         communication or data storage devices or media, and effects at any time, with or without a warrant, by any law enforcement
         or probation officer in the lawful discharge of the officer’s supervision functions with reasonable suspicion concerning
         unlawful conduct or a violation of a condition of probation or supervised release. Failure to submit to a search may be
         grounds for revocation. The defendant shall warn any other residents that the premises may be subject to searches pursuant to
         this condition.
7.       The defendant shall provide all requested business/personal phone records to the probation officer. The defendant shall
         disclose to the probation officer any existing contracts with telephone line/cable service providers. The defendant shall
         provide the probation officer with written authorization to request a record of all outgoing or incoming phone calls from any
         service provider.
